          Case 3:18-cv-02763-H-KSC Document 13 Filed 02/15/19 PageID.93 Page 1 of 3
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Southern District
                                             __________  DistrictofofCalifornia
                                                                      __________


                   EVANS HOTELS, LLC                           )
                             Plaintiff                         )
                                v.                             )      Case No. 18-cv-02763-H-KSC
                  UNITE HERE LOCAL 30                          )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         UNITE HERE Local 30 and Brigette Browning                                                                     .


Date:          02/15/2019
                                                                                         Attorney’s signature


                                                                                   David L. Barber, SBN 294450
                                                                                     Printed name and bar number

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      Case 3:18-cv-02763-H-KSC Document 13 Filed 02/15/19 PageID.94 Page 2 of 3




1                                 CERTIFICATE OF SERVICE
2          I am employed in the city and county of San Francisco, State of California. I am
3    over the age of eighteen years and not a party to the within action; my business address
4    is: 595 Market Street, Suite 800, San Francisco, California 94105.
5          On February 15th, 2019, I served a copy of the foregoing document
6
                                 APPEARANCE OF COUNSEL
7
     on the interested party(s) in this action, as follows:
8
     By ECF System - Court’s Notice of Electronic Filing:
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     CERTIFICATE OF SERVICE                                          CASE 16-cv-2660-BAS-JLB
      Case 3:18-cv-02763-H-KSC Document 13 Filed 02/15/19 PageID.95 Page 3 of 3




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7
     Attorneys for Defendants
8
9
10         I declare under penalty of perjury under the laws of the State of California that
11   the foregoing is true and correct.
12         Executed on this 15th day of February, 2019, at San Francisco, California.
13
14                                        ______________________
                                          Katherine Maddux
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     CERTIFICATE OF SERVICE                                           CASE 16-cv-2660-BAS-JLB
